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_________________________________________________________________________________

                                                    SO ORDERED,



                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI


IN RE: MEI M. CARTER                                                  CHAPTER 13
                                                                      CASE NO. 16-13679


              ORDER APPROVING MODIFICATION OF CHAPTER 13 PLAN

        Debtor having filed a Motion for Modification of her Chapter 13 Plan on May 9, 2017

and a copy of said Motion and Notice of Motion to Modify Plan having being served on the

affected creditor(s) as listed in the creditor matrix and with no written objection having been

filed, it is therefore:

        ORDERED AND ADJUDGED that the Debtor’s Motion for Modification of Chapter 13

Plan is granted and the Chapter 13 Trustee is hereby authorized modify the wage order as

necessary to effectuate this Order.

                                      ***END OF ORDER***

Respectfully Submitted by:
Miranda Linton Williford
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